Petitioner was a party to a divorce suit. He was ordered by the court in which the action was pending to pay to his wife, monthly, a certain sum of money as temporary alimony. Having failed to make some of the required payments when they were due, he was cited for contempt of court because of his dereliction, was adjudged *Page 499 
guilty, and was sent to jail as a punishment for his alleged offense. He then petitioned this court for the writ of habeascorpus and the writ issued.
[1] On the hearing in the contempt proceeding it was not shown that petitioner had the ability to make the defaulted payments. In fact, the evidence showed without contradiction that he was unable to pay. The order adjudging petitioner in contempt of court was without evidence to support it.
Petitioner is discharged from custody.
Craig, J., and Thompson, J., concurred.